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                        LINITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


                                                          Cf< t4'711 f.":O
UNITED STATES OF AMERICA,                            INFORMATION

                    Plaintiff,                       18 u.S.C. $ e21(aX6)
                                                     r8 u.S.c. $ e2r(a)Qa)
               v.                                    l8 U.S.C. $922(o)
                                                     18 u.s.c. $eza@)Q)
JEREMY WILLIAM EGYHAZI,                              l8 u.s.c. $ e24(dx1)
                                                     26 U.S.C. $ s84l
                    Defendant.                       26 U.S.C. $ 5845
                                                     26 u.s.c. $ s86l(d)
                                                     26 U.S.C. $ 5871
                                                     26 U.S.C. $ s872
                                                     28 U.S.C. $ 2a61(c)

THE UNITE,D STATE,S ATTORNEY CHARGES THAT:

                                      COUNT    1
                         (Unlawfu I Possession of Machineguns)

      On or about November 20, 2018, in the State and District of Minnesota, the

Defendant,

                           JEREMY WILLIAM EGYHAZI,

did knowingly possess machineguns, namely the following:

 Description                                                 Serial   Nfftbet
Auto-Ordinance, .45 ACP Thompson machinegun                  Serial humber 3-312062

Auto-Ordinance, .45 ACP Thompson machinegirn                 Serial irumber S-43 8300

 Hesse, Model   H9l,7.62 NATO machinegun                     Serial number G002904

 Hesse, Model   H9l,7.62 NATO machinegun                     Serial number G001812

 Hesse, Model   FAL-H, 7.62 NATO machinegun                  Serial number 003527



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                                                                   SerialtNurrtber

 Maadi, Model MISR SlA, 7.62x39 machinegun                         Serial number   CMII542

 Leinad Inc., Model PM-l1,9x19 machinegun                          Serial number 94-00197   7   7


 Hesse, Model HAR-15 A2, .223 Remington machinegun                 Serial number 1017

 Hesse, Model HAR-15 A2, .223 Reminglon machinegun                 Serial number   lI22

 Hesse, Model HAR-15 A2,7.62x39 machinegun                         Serial number 1176

 Heckler & Koch, Model HK94, 9mm Luger machinegun                  Serial number 5144

 II|{I,UZI Model A, 9mm Luger machinegun                           Serial number SAl1625

 Unknown manufacturer, 9mm STEN-type machinegun                    No serial number

 Unknown manufacturer, 9mm STEN-typ e machinegun                   No serial number




All in violation of Title    18, United States Code, Sections 922(o) and924(a)(2).

                                           COUNT 2
              (Possession of an Unregistered Firearm - Short-Barreled Shotgun)

        On or about November 20, 2018, in the State and District of Minnesota, the
Defendant,

                                JEREMY WILLIAM EGYHAZI,

did knowingly possess a firearm, as defined by Title 18, United States Code, Section

921(a)(6) and Title 26, United States Code, Section 58a5(a)(1), namely a Remington,

Model 870 Express, 12 gauge short-barreled shotgun, bearing serial number D195064M,

having a barrel of less than 18 inches in length, which was not registered to him in the

National Firearms Registration and Transfer Record as required by law; all in violiition of

TitIe26, United States Code, Sections 5841,5861(d) and 5871.
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                                            COUNT 3
                         (Possession of Unregistered Firearms-Silencers)

        On or about November 20, 2018, in the State and District' of Minnesota, the
Defendant,

                                  JEREMY WILLIAM EGYHAZI,

did knowingly possess firearms, as defined by Title 18, United States Code, Section

921(a)Q$ and Title 26,United States Code, Section 58a5(a)(7), namely the following:

 Description'                                                     S'Criet Nuinbei'

 A cylindrical device, constructed of a ferrous alloy,            No serial number
 measuring approximately 12-318 inches in overall length
 with an outside diameter of approximately 2-718 inches

 A cylindrical device, constructed of a non-ferrous alloy,        No serial number
 measuring approximately 9 inches in overall length with an
 outside diameter of approximately 1-314 inches

 A cylindrical device, constructed of a ferrous alloy,            No serial number
 measuring approximately 19 inches in overall length with
 an outside diameter of approximately 2-718 inches

 A cylindrical device, constructed of poly-vinyl chloride         No serial number
 (PVC), measuring approximately 2I inches in overall
 length with an outside diameter of approximately 2-718
 inches




each   of which by design, construction, and function is a device for silencing       and

diminishing the report of a portable firearm, none of which were registered to him in the

National Firearms Registration and Transfer Record as required by law; all in violation of

Title26,United States Code, Sections 5841,5861(d) and 5871.
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                                 FORFEITURE ALLEGATIONS

        Counts    I through 3 of this Information      are hereby realleged and incorporated as   if
fully set forth herein by reference, for the purpose of alleging forfeitures pursuant to Title

18, United States Code, Sections 924(d)(l), in conjunction with Title          26,llnited     States

Code, Section 5872, and Title 28, United States Code, Section 2461(c).

        If convicted of Count 1 of this Information,      the Defendant,

                                 JEREMY WILLIAM EGYHAZI,

shall forfeitto the United States any and all firearms, accessories, and ammunition involved

in or used in connection with such violation, including but not limited to the following

 De-scription                                                          Serial'Nuinber

 Auto-Ordinance .45 ACP Thompson machinegun                            Serial number 3-312062

 Auto-Ordinance .45 ACP Thompson machinegun                            Serial number S-438300

 Hesse, Model H:gI,7.62 NATO machinegun                                Serial number G002904

,Hesse, Model      HgI,7.62 NATO machinegun                            Serial number G001812

 Hesse, Model      FAL-H, 7.62 NATO machinegun                         Serial number 003527

 Maadi, Model MISR SlA, 7.62x39 machine gun                            Serial number Cl|l4ll542

 Leinad Inc., Model PM-1         l,9xl9   machinegun                   Serial number 94-001977 7

 Hesse, Model HAR-15 A2, .223 Remington machinegun                     Serial number 1017

 Hesse, Model HAR-15 A2, .223 Remington machinegun                     Serial number   ll22
 Hesse, Model HAR-1 5 A2,7 .62x39 machinegun                           Serial number 1176

 Heckler & Koch, Model HK94, 9mm Luger machinegun                      Serial number 5144
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 ,Dbsciiption                                                      Serial'Nunfber

 IM|UZI        Model A, 9mm Luger machinegun                       Serial humber SAl1625

 lJnknown manufactdrer, 9mm STEN-type machine$un                   No serial number

 Unknown manufacturer, 9mm STEN-type machinegun                    No serial number



and any and all ammunition loaded in, and associated with said firearms, pursuant to Title

lb, United States Code, Section g24(d)(l), and Title 28, United States Code,             Section

246r(c).

         lf   convicted of Counts2 or 3 of this Information, the Defendant,

                                 JEREMY WILLIAM EGYHAZI.

shall forfeit to the llnited States any and all firearms involved in such violation, including

but not limited the following: to a Remington, Model 870 Express, 12 gauge short-barreled

shotgun, having a barrel of less than 18 inches in length, bearing serial number Dl95064M;

a   cylindrical device, constructed of a ferrous alloy, measuring approximately 12-318 inches

in overall length with an outside diameter of approximately    2-7 18 inches,   bearing no serial

number; a cylindrical device, constructed of a non-ferrous alloy, measuring approximately

9 inches in overall length with an outside diameter of approximately l-314 inches,-bearing

no serial number; a cylindrical device, constructed of a ferrous alloy, measuring
approximately 19 inches in overall length with an outside diameter of approximately 2-718

inches, bearing no serial number; and a cylindrical device, constructed of poly-vinyl

chloride (PVC), measuring approximately 21 inches in overall length with an outside
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diameter of approximately 2-718 inches, bearing no serial number; pursuant to Title 26,

Ilnited States Code, Section 5872, and Title 28, United States Code, Section 2461(c).


Dated: November 14, 2019                        ERICA H. MacDONALD
                                                United States Attorney
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                                                Lj}^-,-\\q\^q
                                                BY: ANDREW DUNNE
                                                Assistant U.S. Attorney
                                                Attorney ID No. 175195
